NOHITH (1/12/15) rdl               UNITED STATES BANKRUPTCY COURT                         U.S. BANKRUPTCY COURT
                                            District of Oregon                             DISTRICT OF OREGON
                                                                                                  FILED
In re                                           )
 Elbert G Garboden                              ) Case No. 15−35133−rld7                      February 9, 2016
 Sherry L Garboden                              )                                        Clerk, U.S. Bankruptcy Court
Debtor(s)                                       )
                                                ) NOTICE OF                                     BY rdl DEPUTY
                                                ) TELEPHONE HEARING
                                                )

NOTICE IS GIVEN THAT:

1. A TELEPHONE HEARING, at which testimony will not be received, will be held:

    DATE: 4/12/16 TIME: 10:00 AM          RE: Motion to Settle and Compromise And Order and Notice Thereon
                                            Hearing Scheduled for 04/12/2016 at 10:00 AM by Telephone
                                            Hearing. (rdl)
                          Call in Number: (888) 684−8852 Access Code: 5870400



2. Each participant must also comply with each hearing requirement listed below. [Note: If you have problems
   connecting, call the court at (503) 326−1500 or (541) 431−4000.]

    YOU ARE FURTHER NOTIFIED that if you have any questions, you should see your attorney
    immediately. If you do not have an attorney and need help in finding one, you may call the Oregon State
    Bar's Lawyer Referral Service at (503) 684−3763 or toll−free in Oregon at (800) 452−7636.


                                   TELEPHONE HEARING REQUIREMENTS


Participants MUST COMPLY WITH EACH REQUIREMENT listed below:

    a. You must call in and connect to the telephone hearing line or personally appear in the judge's
       courtroom no later than the hearing time above. The court will not call you.

    b. You may be asked to call again from another phone if your connection is weak or creates static or
       disruptive noise.

    c. Please mute your phone when you are not speaking. If you do not have a mute function on your phone,
       press *6 to mute and *6 again to unmute if you need to speak. Do not put the court on hold if it will
       result in music or other noise. If available, set the phone to "Do Not Disturb" so it will not ring during the
       hearing.

    d. When it is time for you to speak, take your phone off the "speaker" option to minimize background
       noise. Position the telephone to minimize paper rustling. Do not use a keyboard or talk with others in
       the room. Be aware that telephone hearings may be amplified throughout the courtroom.

    e. Do not announce your presence until the court calls your case. Simply stay on the line, even if there is
       only silence, until the judge starts the hearings, and then continue to listen quietly until your case is
       called.

    f. Whenever speaking, first identify yourself.

    g. Be on time. The judge may handle late calls the same as a late appearance in the courtroom.
                                                                               Clerk, U.S. Bankruptcy Court




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